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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE MIDDLE DISTRICT OF LOUISIANA


 PRESS ROBINSON, et al.,

                     Plaintiffs,

 v.

 KYLE ARDOIN, in his official capacity
 as Secretary of State for Louisiana,

                     Defendant.
                                           CIVIL ACTION
                                           NO. 3:22-CV-00211-SDD-SDJ
 consolidated with
                                           consolidated with
                                           NO. 3:22-CV-00214-SDD-SDJ
 EDWARD GALMON, SR., et al.,

 Plaintiffs,

 v.

 KYLE ARDOIN, in his official capacity
 as Secretary of State for Louisiana,

                     Defendant.


                THE STATE OF LOUISIANA’S RESPONSE TO
               PLAINTIFFS’ MOTION FOR RECONSIDERATION

       The Intervenor-Defendant State of Louisiana opposes Plaintiffs’ Motion for

Reconsideration, ECF No. 72, for three reasons. First, this case is still moot. HB1

has not been re-enacted or otherwise revived. Second, principles of comity preclude

any further action by this Court. Both the Robinson and Galmon plaintiffs are

admitted parties for the remedial proceeding before the Callais Court as of last week.

Third, the Plaintiffs fail to meet the Rule 59 standards.




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I.    HB1 HAS NOT BEEN RE-ENACTED OR OTHERWISE REVIVED.

      This Court previously dismissed this case as moot, holding that: “with the

voluntary enactment of S.B. 8 a live substantial controversy no longer exists and

Defendants have sufficiently shown that the challenged conduct will not recur

following the dismissal of this action.” ECF No. 371 at 13. Nothing has changed

between the Court’s Order and now to suggest that this case has been

“reanimated[d],” ECF No. 327-1 at 5, as a live Article III case or controversy.

      Fundamentally, House Bill 1 (“HB1”)—the 2022 congressional map that

Plaintiffs challenged here—no longer exists; it was explicitly repealed by Senate Bill

8 (“SB8”). Callais v. Landry, No. 3:24-cv-00122 (W.D. La. April 7, 2024), ECF No. 165

JE12. Although SB8 was enjoined by the three-judge panel in the Western District of

Louisiana, id., ECF No. 198, no remedy has been decided and HB1 has not been

reinstituted by either the State or the Callais Court. And, at today’s status

conference, the Callais Court did not provide any indication that it intends to impose

the map embodied in HB1 as the remedial map for 2024.

      Therefore, Plaintiffs’ challenge to HB1 remains moot—especially given the fact

that Plaintiffs never amended their Complaint to challenge anything besides HB1.

Because Plaintiffs specifically elected in January not to amend their complaints to

seek new relief based on the enactment of SB8—despite this Court’s specific

invitation to do so if they desired—it necessarily follows that this Court cannot grant

any effective relief based on SB8-related developments.




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II.      ROBINSON AND GALMON               PLAINTIFFS      HAVE     BOTH      INTERVENED
         SUCCESSFULLY IN CALLAIS.

         As an initial matter, Plaintiffs’ continued effort to “reanimate[],” id., this case

and proceed with a “remedial proceeding,” id. at 9, illustrates the forum shopping in

which Plaintiffs are now engaged. First, Galmon Plaintiffs are not “locked out,” id.,

of the remedial process in Callais. Since filing their Motion for Reconsideration here,

Galmon Plaintiffs were sua sponte granted intervention in the Callais remedial

phase. See Callais v. Landry, No. 3:24-cv-00122 (W.D. La. May 3, 2024), ECF No. 205.

Second, with the entrance of Galmon Plaintiffs, all Plaintiffs in this matter are

participating in the Callais remedial phase. See id. (granting sua sponte Galmon

Plaintiffs’ intervention); Callais v. Landry, No. 3:24-cv-00122 (W.D. La. Feb. 26,

2024), ECF No. 27 (granting Robinson Plaintiffs’ intervention). If Plaintiffs in this

now-dismissed matter wish to participate in a remedial phase that will shape

Louisiana’s congressional map, the proper forum to do so is the Callais Court (which

is in a remedial phase), not this Court (which has dismissed this case as moot and

never had a full trial on the merits). Indeed, both Galmon and Robinson Plaintiffs

participated in the Callais status conference this morning pertaining to the remedial

phase.

III.     RULE 59(E) REQUIREMENTS HAVE NOT BEEN MET.

         Plaintiffs have failed to satisfy their burden under Federal Rule of Civil

Procedure 59(e). “Rule 59(e) ‘serves the narrow purpose of allowing a party to correct

manifest errors of law or fact or to present newly discovered evidence.’” Templet v.



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HydroChem Inc., 367 F.3d 473, 479 (5th Cir. 2004) (quoting Waltman v. Int’l Paper

Co., 875 F.2d 468, 473 (5th Cir. 1989)). Accordingly, “[a]mending a judgment under

Rule 59(e) is only appropriate when (1) there has been an intervening change in the

controlling law; (2) there is newly discovered evidence that was previously

unavailable; or (3) there was a manifest error of law or fact.” Kennedy v. Jefferson

Cnty. Hosp., 689 Fed. Appx. 371, 372 (5th Cir. 2017) (citing Demahy v. Schwarz

Pharma, Inc., 702 F.3d 177, 182 (5th Cir. 2012)). “Reconsideration of a judgment after

its entry is an extraordinary remedy that should be used sparingly.” Templet, 367

F.3d at 479.

      Plaintiffs have not come close to satisfying their burden for obtaining

extraordinary Rule 59(e) relief. And they asserted nothing that supports any of these

three requirements from the Fifth Circuit.

                                  CONCLUSION

      The fatal flaw in Plaintiffs’ Motion is that the ruling by the Callais Court has

no impact on this Court’s previous dismissal. The three-judge panel in the Western

District of Louisiana enjoined SB8. See generally Callais v. Landry, No. 3:24-cv-00122

(W.D. La. April 30, 2024), ECF No. 198. Plaintiffs’ suit here is about HB1. See

Galmon, No. 3:22-cv-00214, ECF No. 1; Robinson, 3:22-cv-00211, ECF No. 1. But, as

of today’s status conference, the Callais Court has not issued a remedy, and the State

has not acted to impose a new map. In short, the only map about which Plaintiffs

complain, HB1, remains repealed and ineffective.

      Thus, the proper action is the one this Court has already taken, and the only




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one available to it: adhering to its prior holding that this action is moot. Plaintiffs

have failed to provide any basis under Rule 59(e) to alter that conclusion.

      For the foregoing reasons, the Court should deny Plaintiffs’ Motion for

Reconsideration.

Dated: May 6, 2024                            Respectfully Submitted,

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                            CERTIFICATE OF SERVICE

      I hereby declare that I served the foregoing document on counsel for all parties

via email on May 6, 2024.


                               /s/ Morgan Brungard
                                 Morgan Brungard




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